        Case 1:11-cr-00102-CG-M Document 138 Filed 04/15/15 Page 1 of 1                                                        PageID #: 666
$2 5HY $/6'2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F 


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                                                                        IRUWKH
                                                      BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
                                                       Southern District of Alabama

                    8QLWHG6WDWHVRI$PHULFD
                               Y
              MARTIN DOMINGUEZ-LEDESMA                                          &DVH1R       11-00102-001
                                                                                8601R 12025-003
'DWHRI2ULJLQDO-XGJPHQW                            09-27-2011
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
DQGWKHVHQWHQFLQJIDFWRUVVHWIRUWKLQ86& D WRWKHH[WHQWWKDWWKH\DUHDSSOLFDEOH
IT IS ORDEREDWKDWWKHPRWLRQLV
           u '(1,(' u✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI      97             PRQWKVis reduced to         78 months                    



ADDITIONAL COMMENTS




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                          09-27-2011          VKDOOUHPDLQLQHIIHFW
IT IS SO ORDERED                                                      Callie V.S. Granade                     Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                                                               DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                               Government, ou=Federal Judiciary,

2UGHU'DWH                April 14, 2015                              U.S. District Judge                     email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                               Date: 2015.04.14 17:12:45 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH              11-01-2015                                                      United States District Judge
                     (if different from order date)                                                Printed name and title
